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     ANTHONY P. CAPOZZI, CSBN: 068525
 1   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. Shaw Avenue, Suite 102
 2   Fresno, California 93711
     Telephone: (559) 221-0200
 3   Facsimile: (559) 221-7997
     E-mail: anthony@capozzilawoffices.com
 4

 5   Attorney for Defendant,
     MANJOT NANNER
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,            ) Case No.: 1:12-CR-00340-AWI-
                                          ) BAM
11              Plaintiff,                )
                                          )
12                                        ) STIPULATION AND ORDER TO
          vs.                             ) RETURN SEIZED PROPERTY
13                                        )
                                          )
14                                        )
     MANJOT NANNER,                       )
15                                        )
                Defendant.                )
16                                        )
17

18        Plaintiff United States of America, by and through its
19   counsel of record, and defendant, by and through his counsel
20   of record, hereby stipulate as follows:
21        1. Manjot Nanner was arrested on September, 21, 2012.
22        2. During the investigation, the Drug Enforcement Agency
23   (DEA) confiscated personal items from Mr. Nanner.
24        3. Mr. Nanner has pleaded guilty and was sentenced on
25   April 7, 2014, to 22 months. Mr. Nanner has completed his
26   sentence and is now in the custody of Immigration and Customs
27   Enforcement.
28
                                           - 1 -
                Stipulation and [Proposed] Order to Return Seized Property
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 1         4. By this stipulation, defendant now requests that the
 2   DEA release his personal property which includes, but is not
 3   limited to, a laptop computer, two (2) cellphones, a Canadian
 4   Passport, and miscellaneous documents.
 5

 6   IT IS SO STIPULATED.
 7
     Dated: May 13, 2014                       /s/ Kevin P. Rooney
 8
                                               Assistant United States
 9
                                               Attorney

10
     Dated: May 13, 2014                       /s/ Anthony P. Capozzi
11
                                               Anthony P. Capozzi
12
                                               Attorney for
                                               MANJOT NANNER
13

14

15                                        ORDER
16

17         IT IS ORDERED that the personal property confiscated from
18   Defendant, Manjot Nanner, be returned.
19

20   IT IS SO ORDERED.

21   Dated: May 14, 2014
                                        SENIOR DISTRICT JUDGE
22

23

24

25

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                                            - 2 -
                 Stipulation and [Proposed] Order to Return Seized Property
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